                  IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

DARNISHA GARBADE,

                    Plaintiff,

      v.                                        Case No. 21-cv-1283

TAYLOR M. WISHAU
(in his individual capacity),

                  Defendant.
______________________________________________________________________________

                                 COMPLAINT
______________________________________________________________________________

      NOW COMES THE PLAINTIFF, Darnisha Garbade, by her attorneys Gingras,

Thomsen & Wachs by Mark L. Thomsen, Paul A. Kinne, and Kimberly D. Sweatt and

hereby states the following as her Complaint in the above-referenced matter.

                                 NATURE OF PROCEEDINGS

      1.      This civil action is brought pursuant to 42 U.S.C. § 1983 and the First and

Fourteenth Amendments to the United States Constitution, to redress the unlawful

retaliatory treatment of plaintiff by Defendant Wishau.

                                        PARTIES

      2.     At all times relevant hereto, Darnisha Garbade (Garbade) has been an adult

resident of the State of Wisconsin. She presently resides within the Eastern District of

Wisconsin.

      3.     Defendant Taylor Wishau (Wishau) is presently the Burlington Area School



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District School Board Treasurer. All conduct attributable to him described in this

complaint was undertaken intentionally, and committed within the scope of his

employment and under color of law.

                                  JURISDICTION AND VENUE

       4.      This court has jurisdiction over this matter pursuant to 42 U.S.C. § 1983, the

First and Fourteenth Amendments to the United States Constitution, and pursuant to 28

U.S.C. §§ 1331 and 1343.

       5.      This claim may be venued in the Eastern District of Wisconsin pursuant

to 28 U.S.C. § 1391, insofar as all the parties reside and/or do business in this district,

and the circumstances giving rise to the claim occurred in this district.

                                FACTUAL ALLEGATIONS

       6.      In fall of 2016 Garbade enrolled her children in the Burlington Area School

District (BASD).

       7.      Beginning in October, 2017, and continuing thereafter, Garbade emailed

and spoke to school district staff and administrators, school board members, and the

Burlington community about an issue of crucial public concern, i.e., about racism in the

Burlington Area School District. She pointed out that Black students and other students

of color were treated unfairly and differently than the white students. She further

described that the BASD had failed to reasonably address unlawful racial bullying and

that the BASD was allowing a racially hostile environment to fester and grow in violation

of Title VI of the Civil Rights Act of 1964.




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      8.       In 2018, Taylor Wishau was elected to serve on the Burlington Area School

District School Board.

      9.       The Burlington Area School District School Board is organized and

operated according to the laws of the State of Wisconsin.

      10.      After several years of speaking out, both verbally and in writing, about the

issue of public concern, namely, the racially hostile environment that existed and

flourished at the BASD, on March 26, 2020 Garbade submitted an official “Discrimination

Complaint Form” to the designated complaint officer for the BASD, Connie Zinnen.

      11.      On April 9, 2021, Assistant State Superintendent, Barbara Van Haren, PhD

issued a Decision and Order, which is attached hereto as Exhibit A. The Decision and

Order found among others:

                  i. A racially hostile environment existed in BASD;

                  ii. That racial harassment at BASD was severe, pervasive and

                     persistent;

                 iii. That BASD had actual notice of the racially hostile environment.

                 iv. That BASD failed to appropriately respond to the racially hostile

                     environment;

                  v. That BASD’s investigation into the racially hostile environment was

                     not reasonable;

                 vi. That BASD’s responsive actions to racial harassment were not

                     reasonably calculated to prevent recurrence;




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                 vii. That BASD’s response was not reasonable because BASD often

                     improperly put the onus on the student to respond to racial

                     harassment;

                viii. That BASD failed to comply with its policy and procedure in

                     handling nondiscrimination complaints; and,

                 ix. That BASD’s nondiscrimination policy and procedure do not comply

                     with Wisconsin Administrative Code.

      12.      On April 9, 2021, Assistant State Superintendent, Barbara Van Haren, PhD

issued an order requiring, among others, that BASD revise its policies and procedures

and procedures to ensure compliance with the Wisconsin Administrative Code. (See

Exhibit A).

      13.      The BASD did not appeal the April 9, 2021 Decision and Order.

      14.      On May 7, 2021, the DPI reviewed the BASD’s proposed corrective action

plan and concluded that Garbade, or her designee, be invited to participate in the

Community Equity Team described in the corrective action plan.

      15.      Garbade is the President of the Burlington Coalition for Dismantling

Racism (BCDR). Garbade has indicated her intention to designation a BCDR member to

participate in the BASD Community Equity Team.

      16.      Wishau openly criticized BCDR and publicly objected to Garbade’s

inclusion on BASD’s Community Equity Team.




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      17.      On June 25, 2021, Wishau filed a baseless BASD Discrimination Complaint

against Garbade, claiming Garbade violated the BASD’s anti-harassment / anti-racism

policy and the Civil Rights Act of 1964 “for [Garbade’s] racist comments posted on social

media against a protected class.” The Complaint stated, “these statements and actions are

further evidence to deny and or remove [Garbade] from the District’s ‘equity’ task force.”

The Discrimination Complaint Form is attached hereto as Exhibit B and incorporated

herein by reference.

      18.      Wishau used his school district address, school district telephone number,

and his official school district email address on the complaint. In doing so, he filed the

Complaint in the scope of his employment as a BASD School Board member.

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       19.      By filing the Discrimination Complaint form against Garbade, Wishau

abused a legal process put in place by the BASD for the purpose of documenting

discrimination by students, BASD staff, and/or BASD employees.

       20.      Wishau filed the Discrimination Complaint for the purpose of chilling

Garbade’s speech regarding a matter of public concern, namely deliberate indifference to

racism.

       21.      Garbade suffered emotionally and economically because of the complaint.

                      FIRST CAUSE OF ACTION AGAINST WISHAU
                      VIOLATION OF FIRST AMENDMENT RIGHTS

       22.      The plaintiff realleges and incorporates the preceding paragraphs as if set

forth fully herein.

       23.      By engaging in the conduct set forth in this Complaint, Wishau violated

Garbade’s rights to free speech when Wishau filed a BASD Discrimination Complaint

accusing Garbade of race discrimination as “further evidence to deny and or remove

[Garbade] from the district’s “equity” task force.”

       24.      Said violation has caused Garbade severe and permanent emotional,

psychological and economic injuries.

       WHEREFORE, the plaintiff demands the following relief:

       A.       An award of compensatory damages against the defendant that will justly

compensate the plaintiff for her emotional, psychological and economic losses.

       B.       An award of punitive damages against Wishau for the willful, wanton and

reckless acts she has committed against the plaintiff;


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          C.      An award of plaintiff’s reasonable attorneys’ fees and costs incurred in this

action;

          D.      Pre- and post-judgment interest; and

          E.      Such other relief as the Court deems just and appropriate.

                                        JURY DEMAND

          The plaintiff respectfully requests that this matter be tried before a jury of

competent persons.



Dated this 5th day of November, 2021.


                                          GINGRAS THOMSEN & WACHS LLP
                                          Attorneys for Plaintiffs


                                          s/ Mark L. Thomsen
                                          Mark. L. Thomsen (SBN: 1018839)
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                             THE STATE OF WISCONSIN
                                     BEFORE
                 THE STATE SUPERINTENDENT OF PUBLIC INSTRUCTION


      In the Matter of Pupil Nondiscrimination                  DECISION AND ORDER
                       Appeal,
     Darnisha Garbade v. Burlington Area School                 DPI Case No. 20-PDA-02
                       District



I.       NATURE OF THE APPEAL AND PROCEDURAL HISTORY

         This is an appeal to the State Superintendent of Public Instruction pursuant to Wis. Stat. §

118.13(2)(b). On March 26, 2020, Ms. Darnisha Garbade, on behalf of her children, submitted a

“Discrimination Complaint Form” to the designated complaint officer for the Burlington Area

School District (BASD). On July 20, 2020, Ms. Garbade filed an appeal with the State

Superintendent. Pursuant to Wis. Admin. Code § PI 9.08(1)(a)5., the matter was referred back to

BASD as it was still under consideration by the BASD Board.

         On August 4, 2020, Attorney Saveon Grenell, engaged by BASD to conduct an

investigation into Ms. Garbade’s Complaint, issued an Investigation Report to Superintendent

Stephen Plank and Assistant Superintendent Connie Zinnen. On the same date, Attorney Grenell

sent a letter to Ms. Garbade summarizing the investigation and identifying his conclusions.

Specifically, the conclusion was that:

         there is no direct evidence or sufficient circumstantial evidence that the District, by
         or through its employees, discriminated against your daughter on the basis of race
         or otherwise, in violation of the District’s Nondiscrimination or Harassment
         policies. There is also no evidence that the District has encouraged racism or
         engaged in racist practices.

The letter identified that Superintendent Plank had adopted Attorney Grenell’s findings and

conclusions. Sometime thereafter, Ms. Garbade apparently appealed Superintendent Plank’s


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                                                                                              Exhibit A
decision to the Board. A private conference between the Board and Ms. Garbade was held on

August 19, 2020. On September 1, 2020, the Board issued a written answer indicating it was

upholding Superintendent Plank’s adoption of the Investigation Report.

       Ms. Garbade, by counsel, appealed the Board’s September 1, 2020 decision. As that

decision was a negative determination of the board properly before the State Superintendent, the

appeal was ripe for consideration and a briefing schedule was issued. The briefing schedule

directed that the District should file the record of the matter, which should consist of, at a

minimum: “records relating to the complaint, including investigative notes; copies of any and all

of the District’s pupil nondiscrimination policies and complaint procedures in effect during the

2019-20 school year; and any and all other documents related to the complaint or the allegations.”

The District submitted its record. Briefing followed in the form of an initial brief from Ms.

Garbade, a responsive brief from BASD and a reply brief from Ms. Garbade.

II.    STANDARD OF REVIEW

       Section 118.13 of the Wisconsin Statutes provides that no person may be denied

participation in, be denied the benefits of or be discriminated against in any curricular, or other

program or activity because of the person’s race. Section PI 9.02(5) of the Wisconsin

Administrative Code defines “discrimination” to include any action, policy or practice which is

detrimental to a person and differentiates or distinguishes among persons, or which limits or denies

them opportunities, privileges, roles, or rewards based, in whole or in part, on their race.

       The Department of Public Instruction (hereinafter “DPI”) reviews appeals of districts’ final

determinations of pupil nondiscrimination complaints pursuant to Wis. Stat. § 118.13(3)(a)1. and

Wis. Admin. Code § PI 9.08(1)(a)1. DPI’s review of discrimination allegations under Wis. Stat. §

118.13 is informed by guidance promulgated by the Department of Education, Office for Civil



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Rights (OCR) which provides an investigative approach and standards for determining whether

discrimination occurred under analogous federal law. See generally Racial Incidents and

Harassment Against Students at Educational Institutions; Investigative Guidance, F.R. Doc. No.

94-5531 (1994). A school district has a general duty to provide a nondiscriminatory educational

environment. Id. at 3. “The type of environment that is tolerated or encouraged by or at a school

can therefore send a particularly strong signal to, and serve as an influential lesson for, its

students.” Id. Discrimination occurs when a district

       has created or is responsible for a racially hostile environment[,] i.e., harassing
       conduct (e.g., physical, verbal, graphic, or written) that is sufficiently severe,
       pervasive or persistent so as to interfere with or limit the ability of an individual to
       participate in or benefit from the services, activities or privileges provided by a
       [district]. A [district] has subjected an individual to different treatment on the basis
       of race if it has effectively caused, encouraged[,] accepted, tolerated or failed to
       correct a racially hostile environment of which it has actual or constructive notice.

Id. DPI adopts the standard promulgated in guidance by OCR, which provides for a finding of

discrimination when: 1) a racially hostile environment exists; 2) the district had actual or

constructive notice of the racially hostile environment; and 3) the district failed to adequately

redress the racially hostile environment. Id.

       BASD argues that the appropriate standard to be applied to the district’s response to a

racially hostile environment is merely whether the district was “deliberately indifferent”. A

district’s actions in response to racial harassment are deliberately indifferent only if they were

clearly unreasonable in light of the known circumstances. Zeno v. Pine Plains Cent. Sch. Dist.,

702 F.3d 655, 665 (2nd Cir. 2012) (citing Davis v. Monroe Cnty. Bd. of Educ., 526 U.S. 629

(1999)). In the educational context, the deliberately indifferent standard arises out of the tenet that

“judges make poor vice principals” and courts should refrain from second-guessing disciplinary

decisions made by school administrators. Estate of Lance v. Lewisville Indep. Sch. Dist., 743 F.3d



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982, 996-97 (5th Cir. 2014). Unlike a judge, DPI is a regulatory agency uniquely suited to exercise

oversight of districts with respect to the actions taken in response to discrimination. As such, the

standards promulgated by OCR, rather than reviewing courts, are more properly applied here.

        In accordance with Wis. Admin. Code §§ PI 1.04(5), (9), DPI’s decision is based on a

review of the record developed by the district during its investigation into the underlying

complaint; DPI is necessarily limited to the record offered by BASD on appeal. DPI will conclude

discrimination occurred or did not occur when the evidence in the record supports such a finding.

DPI may also conclude that the evidence in the record does not support any finding.

III.    UNDERLYING PROCEDURAL HISTORY AND ALLEGATIONS

        The Grievance Procedure which governs BASD’s review of discrimination complaints

requires that the complainant complete a specific “discrimination complaint form” found on the

district web site. See BASD Administrative Regulation R-112. Ms. Garbade submitted her March

26, 2020, Complaint via email with an attached completed discrimination complaint form. In the

body of the email Ms. Garbade included further allegations of discrimination, including three

particular incidents she specifically mentioned as “an extension of [her] official complaint”

because there was not enough space on the form. 1

        The allegations made by Ms. Garbade span the years 2016 through 2020 and were made

on behalf of her children; hereinafter these children are referred to as Student A and Student B.

During this time period: Student A progressed from Grade 3 to Grade 6 and grew from seven years




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  The BASD “Discrimination Complaint Form” provides five single-spaced lines in which the complainant is to make
their “Statement of complaint”, including the “type of discrimination charged and the specific incident(s) in which
[they] occurred”.

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old to ten years old; and Student B progressed from Grade 6 to Grade 9 and grew from eleven

years old to fifteen years old.

         The “Discrimination Complaint Form” alleges that her children were: 1) subjected to

verbal harassment, e.g., being called “nigger 2 on multiple occasions” and told that “people are like

jellybeans[,] no one likes the black ones”; 2) detained and interrogated by BASD staff when

harmed by white students; 3) told by a principal “about a black kid in [M]ilwaukee who was shot

and killed by the police”; and 4) physically assaulted, e.g., spit on and pushed down stairs.

         The body of the March 26, 2020, email contains the following allegations: 1) the principal

of Student A’s school discriminated against her in October 2017 by falsely accusing Student A of

bringing a toy gun to school with the intent to harm others; 2) Student A was threatened by a white

student (Student Z) who told Student A he had access to guns and would kill her and then, after

Student A reported this incident, Student A was retaliated against by Student Z and others; 3) the

principal of Student A’s school discriminated against her in February 2019 when Student A was

spit on and hit by a white student (Student Y) but Student A was detained and interrogated; 4)

BASD repeatedly failed to include Ms. Garbade’s previous discrimination complaints in its

required reporting to DPI; and 5) suspension rates for Black students were 25 times higher than

suspension rates for white students.

         On April 7, 2020, after Attorney Grenell’s investigation had commenced, Ms. Garbade sent

an email to him which detailed additional “racial discrimination complaints.” She reiterated that

there was not enough room on the complaint form to detail all the incidents of racial discrimination

that had occurred in the district. According to the Investigation Report, Attorney Grenell

interviewed or received information from the following individuals: Ms. Garbade; Principal Scott


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  This Decision and Order contains direct quotes of offensive racial slurs. These slurs are repeated verbatim in order
to convey the serious nature of the incidents in question.

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Schimmel; Principal Jacqueline Syens; and Assistant Superintendent Connie Zinnen. No students

or other staff of BASD were interviewed.

        Some of these allegations are discrete incidents which can be addressed accordingly. Some

can be consolidated into a general allegation that a racially hostile environment existed in BASD

and BASD failed to appropriately respond to the hostile environment.

IV.     DISCRETE ALLEGATIONS THAT BASD DISCRIMINATED AGAINST
        STUDENT A BY TREATING HER DIFFERENTLY THAN SIMILARLY-
        SITUATED STUDENTS.

        Discrimination occurs when district employees, acting within the scope of their official

duties, treat a student differently on the basis of their race without a legitimate, nondiscriminatory

reason. A “standard different treatment analysis” should be applied to allegations of racial

discrimination by district employees or agents. F.R. Doc. No. 94-5531 at 2. Essentially, when a

student has been treated differently than other similarly-situated students of other races, the district

must show legitimate, nondiscriminatory reasons for the treatment. Id. at 7. These asserted reasons

cannot be a “mere pretext” for discrimination. Id.

        A. BASD Discriminated Against Student A When It Disciplined Her Differently
           Than a Similarly-Situated White Student With No Legitimate, Nondiscriminatory
           Reason.

        On or about October 4, 2017, Student A brought a toy airsoft gun to school for show and

tell day. She apparently played with it on the playground around other students and also had it

visible on the bus. The toy gun was confiscated by a bus driver, who reported the incident to the

school principal, Jacqueline Syens. Principal Syens sent an email on October 5, 2017, to all school

parents advising that a student had an unloaded BB gun on the bus, that it was retrieved by a bus

driver and “no children were in any danger at any time and disciplinary actions have been taken”.

While questioning Student A about why she brought the toy gun to school, it is undisputed that



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Principal Syens referred to a Black child who was shot and killed by the police while playing with

a toy gun. Student A was suspended for one day. On October 10, 2017, Principal Syens sent

another email to all school parents clarifying that the toy gun was an airsoft gun and not a BB gun

and reminding families of District Policy 443.6 which states no student may possess a weapon or

imitation weapon on school premises or in school buses. Neither email identified Student A by

name or other identifiable information.

       Included in the record is a “Student Discipline Report” which apparently reflects all

discipline incidents involving weapons documented in BASD during the relevant school years

(2016 – 2020). Seven such incidents involving six students are documented during this time period.

The record does not reflect the race of any of the students involved in these weapons incidents.

Although it is undisputed Student A was suspended for one day as a result, there is no entry in the

student discipline report (or any other contemporaneous document of the incident in the record

beyond the emails sent by Principal Syens) regarding the October 2017 incident involving Student

A. Examples of weapons incidents listed in the student discipline report include: a seventh grader

who brought a knife to school and served one day of out-of-school suspension; and a sixth grader

who brought a pocket knife to school and served one day of in-school suspension. The only other

documented incident involving a gun (or imitation gun) involved a hunting rifle discovered in a

student’s vehicle during a sweep of the parking lot; the student served two days of out-of-school

suspension.

       The record reflects the discipline imposed on Student A for bringing the toy gun to school

was generally equivalent to discipline imposed on all students in BASD who brought weapons to

school. However, the most analogous weapons incident to the incident involving Student A took

place during the same school year at the same school; the discipline imposed on this similarly-



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situated student was different. In May 2018, a 4th grader (Student X) brought a jack knife to school,

“show[ed] it off on the bus” and served an undocumented amount of detention. BASD identifies

in its Brief that Student X is white. Because the discipline imposed on Student A was different,

and more severe, than the discipline imposed on similarly-situated Student X, BASD must show

legitimate, nondiscriminatory reasons for this different treatment. F.R. Doc. No. 94-5531 at 7.

These reasons cannot be a “mere pretext” for discrimination. Id. DPI is not persuaded that there

were legitimate, nondiscriminatory reasons for the more severe discipline.

          In the course of her interview with Attorney Grenell, Principal Syens compared the incident

with Student A to that of Student X and asserted the totality of the circumstances and the intent of

the student must be taken into account when determining discipline. According to Principal Syens,

Student X was not suspended because the student realized he had a jack knife in his book bag and

immediately gave it to a teacher. BASD reiterates these facts in its Brief. The record does not

comport with this description of the incident. According to the entry in the student discipline

report:

          [i]t was brought to [staff] attention at lunch from a couple students that [Student X]
          had a sharp jack knife in his backpack and he was showing it off on the bus. When
          he was asked about it he took it out of his backpack and gave it to [staff member].

There is no meaningful difference between the incidents involving Student A and Student X. Both

students apparently had no intent to harm anyone with the weapon they brought to school. 3 Both

students showed the weapon to other students. Both students had the weapon confiscated only after

it was discovered by adults. BASD argues in its Brief there were no similarly-situated students

because no other student possessed a gun, real or imitation, on school grounds. This is incorrect


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  The statement of Principal Syens recounted in the Investigation Report that intent of the student must be considered
implies there was a distinction between the intent of Student A and Student X. However, there is no allegation in the
record that Student A threatened or intended to harm anyone with the toy gun and, in fact, Principal Syens stated in
her interview that Student A said she had no bad intentions.

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(there was the incident with a hunting rifle) and also disingenuous. BASD’s policy on weapons

does not distinguish between knives and guns. BASD cannot on the one hand assert that it treats

all students equally pursuant to that policy and on the other hand try to carve out Student A as

uniquely situated because of the type of weapon she possessed. BASD has not identified any

legitimate, nondiscriminatory reason that Student X, a white student, served detention while

Student A, a Black student, served a suspension for substantially similar offenses.

       Ms. Garbade also asserts that it was discriminatory for Principal Syens to send school-wide

emails about Student A’s possession of the toy gun which resulted in ostracization of, and backlash

towards, Student A. The record is silent as to whether similar emails were sent for other weapons

incidents or specifically for the incident involving Student X’s possession of the jack knife. BASD

asserts that the emails were sent simply to communicate to parents that students were safe. The

record does reflect a legitimate, nondiscriminatory reason for the emails sent about Student A:

news of the incident was already out on Facebook and there was a need to provide information to

parents. Given these facts, DPI cannot conclude that the reasons offered by BASD for sending the

emails were a mere pretext for discrimination.

       B. BASD Did Not Discriminate Against Student A During Its Investigation of a
          February 2019 Altercation.

       On February 4, 2019, Student A was involved in an altercation with Student Y on the

playground. Principal Scott Schimmel investigated the altercation. Ms. Garbade alleges that

Principal Schimmel discriminated against Student A by defending Student Y. She also alleges that

Principal Schimmel treated Student A like the perpetrator by detaining and questioning her when

she was the victim. Many facts surrounding the altercation are in dispute. There are no

contemporaneous documents in the record summarizing the altercation beyond the emails

exchanged between Principal Schimmel and Ms. Garbade, which present differing views. The

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Investigation Report details that Principal Schimmel viewed video of the altercation but the actual

physical contact between Student Y and Student A was obscured. 4 Principal Schimmel questioned

both Student A and Student Y as well as other students that were present. Based on Principal

Schimmel’s investigation, he came to the conclusion that Student Y did not intend to hit Student

A and neither Student A nor Student Y were disciplined. There is no evidence supporting a finding

that Principal Schimmel treated Student A differently than other similarly-situated students during

his investigation into the altercation. 5

         C. Based on the Record, DPI is Unable to Determine Whether BASD Discriminated
            Against Student A When She Was Referred to the School Resource Officer for
            Theft.

         On March 5, 2019, Student A stole food items such as pop tarts and granola bars from other

students’ lunch baskets. Student A was referred for a meeting with School Resource Officer (SRO)

Jodi Borchardt and served one day of in-school suspension. Student A also replaced the snacks

that she took and wrote letters of apology to the students. As noted in the Investigation Report,

Ms. Garbade was not opposed to Student A meeting with the SRO as a consequence for her theft

but questioned whether white students would be referred to the SRO in similar circumstances. Ms.

Garbade also recounted in correspondence to Attorney Grenell that the SRO told her Student Z –

the student that threatened to kill Student A on the bus – was not referred to the SRO and should

have been. The SRO was not interviewed during the investigation. BASD does not have any

written policies, procedures or guidance for staff on when to involve the SRO. Principal Schimmel

stated that “threats, theft, and online bullying” are behaviors that will likely result in police contact.




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  The video of the incident was also viewed at some point by Ms. Garbade, who apparently also identified the footage
was inconclusive, but the footage was no longer available for viewing by Attorney Grenell during his investigation.
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  However, certain aspects of Principal Schimmel’s actions with respect to this investigation will be discussed in more
detail later in the Decision.

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         The record does not contain any other entry in a student discipline report, besides the entry

for Student A, which identifies the offense as theft. A review of the other entries in student

discipline reports in the record reveal inconsistency in when the SRO is involved. 6 Out of seven

weapons incidents, two resulted in police involvement. Out of nineteen bullying incidents, two

resulted in police involvement. The entry in a student discipline report for Student Z’s threat to

Student A confirms that Student Z was not referred to the SRO. Attorney Grenell ultimately found

“[b]ased on the review of the records made available to me and a totality of the circumstances, I

cannot substantiate the allegation that students of color are referred to the police liaison officer

more often than White students.” 7 Based on the record, DPI is unable to make a determination as

to whether BASD discriminated against Student A when it referred her to the SRO and whether

BASD regularly discriminates against students on the basis of race by using race as a factor when

making referrals to the SRO. The Investigation Report contains recommendations to “ensure there

is uniformity and equity in the utilization of law enforcement within the District”. DPI agrees this

is an area of concern that BASD should address.

V.       BASD FAILED TO RESPOND ADEQUATELY TO REDRESS THE HOSTILE
         RACIAL ENVIRONMENT WHICH EXISTED IN THE DISTRICT.

         Discrimination occurs when: 1) a racially hostile environment exists; 2) the district had

actual or constructive notice of the racially hostile environment; and 3) the district failed to

adequately redress the racially hostile environment. F.R. Doc. No. 94-5531 at 3. Many of the

allegations raised by Ms. Garbade can be consolidated into a general allegation that there was a

racially hostile environment at BASD which BASD failed to adequately redress.



6
  Also, as previously noted, most of the entries in the student discipline reports available do not identify the race of
the students involved.
7
  It appears from this comment that Attorney Grenell believes there may have been District records that would have
assisted him in making further conclusions about the use of SROs. It is unclear why he did not request them.

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        A. A Racially Hostile Environment Existed in BASD.

        A racially hostile environment exists in a district when racial harassment is “severe,

pervasive or persistent”. F.R. Doc. No. 94-5531 at 3; see also Davis v. Monroe Cnty. Bd. of Educ.,

526 U.S. 629, 650 (1999). In determining whether the severe, pervasive or persistent standard is

met, many factors are considered, including “the context, nature, scope, frequency, duration and

location of racial incidents, as well as the identity, number and relationships of persons involved.”

F.R. Doc. No. 94-5531 at 3. The age of the student also should be taken into account, as younger

students are more impressionable and incidents that may not be considered harmful to older

students may be severe and harmful to their younger counterparts. “Particularly for young children

in their formative years of development, therefore, the severe, persistent standard must be

understood in light of the age and impressionability of the students involved”. Id. A racially hostile

environment can result from a single incident if it is sufficiently severe, such as injury or threats.

Id. at 4. With respect to identity of the persons involved, the effect of racially-based conduct by a

district employee may have a greater impact on a student than the same conduct by another student

and the effect of racially-based conduct by a group of students may have a greater impact than by

a single student. Id. Importantly, “racial acts need not be targeted at the complainant in order to

create a racially hostile environment. The acts may be directed at anyone.” Id.

        OCR resolution documents – which are issued as a result of discrimination complaints

investigated by OCR – are instructive in showing how these factors are applied in real-world

educational environments. In 2018, OCR investigated complaints of racial discrimination in the

School District of River Falls, Wisconsin. See School District of River Falls, No. 05-18-1304 (U.S.

Dep’t       of      Educ.       Office       for        Civ.     Rts.      Oct.      31,       2018),

https://www2.ed.gov/about/offices/list/ocr/docs/investigations/more/05181304-a.pdf. OCR found



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that a hostile racial environment existed where, over the course of a semester, an African-American

student was taunted regularly on the basis of her African-American features. Id. at 3. This included

comments about the student’s hair, nose and skin color. Id. These comments often left the student

“visibly shaken”. Id. A comment was also made to another African-American student that he could

not do something other students could do “because he is black and they are white”. Id. at 4.

         Further guidance is found in other recent cases involving OCR investigations. For instance,

OCR and a district reached a resolution short of a formal finding and the district agreed to take

actions to bring the district into compliance over a complaint there was a racially hostile

environment because a student had identified multiple uses of “the N-word” by other students at

his school. See Northwest Allen County Schools, No. 05-20-1020 (U.S. Dep’t of Educ. Office for

Civ.                       Rts.                    May                 28,                    2020),

https://www2.ed.gov/about/offices/list/ocr/docs/investigations/more/05201020-a.pdf.         Also   in

2020, OCR and a district reached a resolution over racial harassment in the course of one school

year, and specifically an incident of two students calling a group of four elementary school children

“burnt chicken nigglets”. See Mountain Iron-Buhl Public School District #712, No. 05-20-1187

(U.S.      Dep’t      of          Educ.   Office     for   Civ.    Rts.      July     14,     2020),

https://www2.ed.gov/about/offices/list/ocr/docs/investigations/more/05201187-a.pdf. Finally, a

resolution was reached in a case involving allegations a white student physically assaulted an

African-American student, called him “the ‘n-word’” and told him “black people smell”. See

Prospect Heights School District 23, No. 05-16-1067, (U.S. Dep’t of Educ. Office for Civ. Rts.

Nov. 25, 2020), https://www2.ed.gov/about/offices/list/ocr/docs/investigations/more/05161067-

a.pdf.




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      i. There Were, At a Minimum, Nineteen Incidents of Racial Harassment at BASD During
         the Years 2016 Through 2020.

       A student discipline report is included in the record which apparently reflects nineteen

discipline incidents involving “BULLYING RACE” documented in BASD during the relevant

school years (2016 – 2020).

       •   In September 2016, an eighth grader called another student a “nigger” while lining up
           to leave class. This comment was overhead by other students.
       •   In December 2016, a ninth grader used “racial remarks toward another student”.
       •   In December 2016, a ninth grader said that another student was “as dark as burnt toast”.
       •   In January 2017, a tenth grader made “racial comments and told a Spanish student that
           he hated Spanish students.”
       •   In February 2017, a tenth grader “used ethnic and sexual references/picture in a
           message sent to another student”.
       •   In March 2017, a ninth grader made unspecified “racial comments” on the bus that
           were apparently so significant that police contact was warranted.
       •   In March 2017, an eleventh grader made “racial comments” in the classroom.
       •   In April 2017, a tenth grader “called an African-American student chocolate and a
           Hispanic student vanilla loudly in front of the whole class”.
       •   In February 2018, a seventh grader yelled “Mexicans are idiots, go eat your tacos
           somewhere else” at other students.
       •   In March 2018, a seventh grader told a Hispanic student “Mexicans are sneaking drugs
           into the US. That’s why Trump is building a wall.”
       •   In May 2018, a tenth grader used an “offensive racial slur towards another student.”
       •   In November 2018, a sixth grader called another student “the ‘n-word’ and [said] he
           didn’t care if he was being racist.”
       •   In November 2018, a ninth grader called another student a “racial slur and pushed
           them”.
       •   In February 2019, a seventh grader “repeatedly [made] racial remarks to another
           student.”
       •   In March 2019, a seventh grader called out to a female student “you ugly! You an ugly
           ho!”
       •   In April 2019, a seventh grader shoved a student and called the student a “nigger”.
       •   In November 2019, an eleventh grader said “the N-word” to two Black students
           approximately five times as they walked past.
       •   In February 2020, a fifth grader said to two other students “I hate Mexicans like you, I
           hate everything about them” and called them “Mexican whores”.
       •   In February 2020, a ninth grader said “watch out, here comes another one of those
           monkeys” about a Black student.




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      ii. Additional Incidents of Racial Harassment Occurred from 2016 Through 2020, but DPI
          is Unable to Determine the Exact Number and Severity of Additional Incidents Due to a
          Lack of Investigation and Documentation in the Record.

         Ms. Garbade’s Complaint asserts many specific instances of verbal racial harassment,

including that her children were: “called ‘nigger’ on multiple occasions”; called “black girl”; and

told that “people are like jelly beans[,] no one likes the black ones”. In her April 7, 2020, email to

Attorney Grenell, Ms. Garbade provided specific dates of these incidents and the names of the

alleged perpetrators (in addition to dates and names for a multitude of other incidents). The

Investigation Report does not address these specific incidents. 8 The Investigation Report also fails

to address the global allegation that racial harassment was ever-present in BASD, beyond the

conclusory statement:

         there is no evidence that the District has perpetuated race discrimination on
         systemic and individual levels and there is no actual evidence the District has
         encouraged racism or engaged in racist practices. However, review of disciplinary
         records from 2016 - 2020 related to remarks regarding race by students in the
         District, revealed there has not been uniformity in the severity of punishment given
         to students who make remarks based on race.

Given that BASD has neither refuted these specific allegations of explicitly racial harassment nor

developed evidence to refute them, DPI determines that at least these additional instances of racial

harassment also occurred at BASD.

     iii. DPI is Unable to Determine if Other Instances of Harassment of Student A Were Racial
          Harassment.

         DPI assumes that, because Ms. Garbade is raising them in her Complaint, she asserts that

other specific incidents involving Student A were racially-motivated and are further evidence of

the racially hostile environment at BASD. Unlike verbal harassment where a racial motivation is



8
 None of these incidents can be clearly tied to incidents documented in entries in a student discipline report as already
known to BASD and addressed as bullying based on race incidents.

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inherent in the words used, it is ambiguous whether these incidents – the threat made by Student

Z, the altercation with Student Y, and several instances of physical assault – were racially-

motivated.

           An entry in a student discipline report included in the record indicates that Student Z,

documented as white, said to another student on the bus (presumably Student A), “If you don’t

stop annoying me, I’m going to kill you”. There is no documented racial component to this threat.

The Investigation Report summarizes an interview with Principal Schimmel on the matter but does

not specify whether Student Z was questioned as to any racial motivation following the incident.

The Report concludes there is “no record of the student making any threats to [Student A] based

on her race”. The Investigation Report substantiates the allegation that Student Z and other students

retaliated against Student A by calling her a “snitch” but concludes “there is no indication the

retaliation was based on [Student A]’s race” and notes one comment about Student A’s race could

not be “independently verified”. 9

           With respect to the altercation with Student Y, the Investigation Report does specifically

note that:

           [b]ecause the allegations were related to race, I inquired into the race of the other
           student involved. Mr. Schimmel reported that the other student is biracial, but noted
           that he is unsure whether the student self-identifies as biracial.

However, there is no indication that Principal Schimmel asked any questions to determine whether

the altercation was racially-motivated. Just as with the allegations of verbal harassment, BASD

has not developed sufficient evidence to specifically refute Ms. Garbade’s version of these events.

Based on this record, DPI is unable to determine if these incidents were racial harassment.




9
    The Investigation Report does not note what steps were taken to attempt verification.

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     iv. DPI Determines That Racial Harassment at BASD was Severe, Pervasive and Persistent.

       DPI determines that racial harassment at BASD was severe, pervasive and persistent during

the period from 2016 until the Complaint was filed in 2020. The environment at BASD was akin

to the environment in River Falls, where OCR determined a racially hostile environment existed

where a student was “subjected to frequent racial taunting” over the course of one semester. School

District of River Falls at 10. OCR notes that “the comments in question were not severe racial

epithets” but were persistent and pervasive. The environment at BASD was also akin to

environments at districts where OCR did not reach a formal determination of a racially hostile

environment, but reached resolutions with districts where: “the N-word” was used multiple times,

Northwest Allen County Schools at 3; racial harassment was alleged over the course of one year

and elementary students were called “burnt chicken nigglets”, Mountain-Iron Buhl Public School

District #712 at 5; and an African-American student was called “the ‘n-word’” and told “black

people smell”. Prospect Heights School District 23 at 3.

       At BASD, the record reflects at least nineteen instances of students subjected to racial

comments and slurs over the course of four years, including eight separate instances in the 2016 –

2017 school year alone. Further, at BASD, the racial harassment often consisted of severe epithets;

there are at least four documented instances of the word “nigger” being used by, and directed at,

BASD students. This does not even account for the “multiple occasions” Ms. Garbade alleges in

her Complaint that her children were subjected to that epithet. However, it is important to note that

“racial acts need not be targeted at the complainant in order to create a racially hostile environment.

The acts may be directed at anyone.” F.R. Doc. No. 94-5531 at 4. As noted by OCR, a racially

hostile environment can result from a single incident if it is sufficiently severe and this standard

must be “understood in light of the age and impressionability of the students involved”. F.R. Doc.



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No. 94-5531 at 4. Student A was seven to ten years old during the relevant years. Here, where she

and her fellow students were hearing racial comments and slurs on a consistent basis over the

course of several years, DPI determines a racially hostile environment existed.

       B. BASD Had Actual Notice of the Racially Hostile Environment.

       There is no question that BASD had actual notice of the racially hostile environment.

Beyond its own student discipline reports, which reflect the incidents recited above, Ms. Garbade

continually raised concerns to the District about racial harassment of her children and other

students. The record reflects that, beginning in February 2019 and continuing through November

2019, Ms. Garbade was in frequent communication with Principal Schimmel regarding incidents

in which Student A was being mistreated. Many of these incidents were harassment explicitly

based on Student A’s race; others Ms. Garbade alleged were based on racial bias. Ms. Garbade’s

communications: eventually included Superintendent Plank and Superintendent Smet; included

speaking at Board meetings to take her concerns about the racially hostile environment at BASD

directly to the Board; and expanded to reporting racial comments that were being told to her from

other BASD students who wanted to remain anonymous.

       C. BASD Failed to Appropriately Respond to the Racially Hostile Environment.

       Once a district has notice of a racially hostile environment, it must “take reasonable steps

to eliminate it”. F.R. Doc. No. 94-5531 at 5. “The appropriate response to a racially hostile

environment must be tailored to redress fully the specific problems experienced at the institution

as a result of the harassment. In addition, the responsive action must be reasonably calculated to

prevent recurrence”. Id. When a district learns:

       of harassment based on race by a student’s peers, the [district] must investigate the
       incident(s) promptly and respond appropriately. The responsibility to respond to
       harassment based on race, when it does occur, includes taking prompt and effective
       action reasonably calculated to end the harassment, eliminating any hostile

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       environment that has been created, preventing it from recurring, and where
       appropriate, remedying the effects of the harassment on the student who was
       harassed. These duties are a [district]’s responsibility even if the misconduct also is
       covered by an anti-bullying policy, and regardless of whether a student has
       complained, asked the school to take action, or identified the harassment as a form
       of discrimination.

Platteville Public Schools, No. 05-13-1098 (U.S. Dep’t of Educ. Office for Civ. Rts. Nov. 20,
2013), https://www2.ed.gov/about/offices/list/ocr/docs/investigations/more/05131098-a.pdf.

       OCR has provided specific guidance on what an appropriate response calculated to prevent

recurrence by a district might include. With respect to individual incidents, steps may include

“separating the accused harasser and the target, providing counseling for the target and/or harasser,

or taking disciplinary action against the harasser. These steps should not penalize the student who

was harassed.” Dear Colleague Letter 3, (U.S. Dep’t of Educ. Office for Civ. Rts. Oct. 26, 2010),

https://www2.ed.gov/about/offices/list/ocr/letters/colleague-201010.pdf. However, the response

should not end with addressing specific incidents. Depending on the extent of the harassment, a

district “may need to provide training or other interventions not only for the perpetrators, but also

for the larger school community, to ensure that all students, their families, and school staff can

recognize harassment if it recurs and know how to respond.” Id. An effective response may need

to include issuance of new policies against harassment and procedures by which complaints may

be made. Id. The district also must take steps to prevent further harassment of complainants and

prevent retaliation. Id. “At a minimum, the school’s responsibilities include making sure that the

harassed students and their families know how to report any subsequent problems, conducting



responding promptly and appropriately to address continuing or new problems.” Id.

       OCR has even offered suggestions on reasonable response in the form of a checklist.

Checklist for a Comprehensive Approach to Addressing Harassment (U.S. Dep’t of Educ. Office



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for Civ. Rts.), https://www2.ed.gov/policy/rights/guid/ocr/checklist.html. Additional appropriate

steps to form an appropriate response include: “creating an effective anti-harassment program in

consultation with parents, students, and community groups”; using the district’s curriculum to

“foster respect and appreciation for diversity”; staff training and professional development

programs to support the district's anti-harassment efforts; development of guidelines and

procedures for collaboration with law enforcement officials; and regular assessment of the

effectiveness of the district’s anti-harassment efforts. Id.

       OCR’s specific findings in the River Falls investigation once again are helpful to see the

real-world application of these principles. There, the parent raised the frequent racial taunting

suffered by her daughter to the district; thereafter, the principal met with the parents to discuss

further but offered no solutions other than to speak with the student doing the taunting. School

District of River Falls at 5. The victim was offered support through the school counselor, including

regular check-ins. Id. The parent continued to raise concerns to the principal about the ongoing

racial harassment, but the principal never forwarded the matter to the superintendent or initiated

any formal investigation until the parent indicated the student would withdraw from the district.

Id. at 6-8. The district’s formal response to the allegations of harassment was a finding that staff

took measures to address the concerns and there was no evidence staff ignored the issues or

allowed the comments to persist. Id. at 8. The district asserted it could not “monitor the activities

of students at all times and eliminate incidents of bullying”. Id. On these facts, OCR determined

that “the District failed to take effective action to immediately stop the harassment, prevent its

recurrence, and remedy its effect on” the student. Id. at 11. OCR specifically noted that although

the district addressed reports of harassment as they arose in a “concerned and caring fashion”, the

district’s interventions were not effective when viewed cumulatively. Id. While each allegation



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was addressed, no formal investigation was launched and there were no steps taken to prevent the

harassment from recurring. Id. OCR further noted that the counseling offered to the student was

“intended not to help her overcome the effects of the harassment, but to teach her self-esteem and

self-advocacy”. Id.

       The OCR’s investigation in Platteville also provides guidance on what constitutes failure

to appropriately respond. There, the complaint alleged the district was aware of racial harassment

but did not take appropriate action to respond. Platteville Public Schools at 1. Multiple students

were substantiated by the district as having made derogatory racial remarks to African-American

students. Id. at 13. Also, one African-American student was involved in misconduct incidents in

which he asserted white students were the aggressors engaging in racial harassment with the intent

to push him to retaliate so that he would then be disciplined. Id. at 8. In finding that the district

failed to respond appropriately, OCR noted the district failed to offer any remedies to the victims.

Id. at 13. Further, the district responded to the harassing conduct by placing the onus on the victims

to respond. Id. The principal told the student involved in misconduct incidents that the student

needed “to show other students what it was like to be a ‘black man’ when advising him to ignore

other students’ efforts to antagonize him”. Id. OCR specifically stated this comment created a

hostile environment for the student. Id. The principal also suggested students needed to be taught

how to keep themselves from responding to harassment and to simply “turn the page” in the face

of harassment. Id. OCR identified that “[a]lthough the School investigated each incident of alleged

harassment, the School did not take sufficient responsive action because the incidents of

harassment continued”. Id. Further, the district “conveyed a message to the two students that… it

was their responsibility to combat the harassment or negative stereotypes.” Id.




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       OCR has expressed concern over the sufficiency of other district responses, including: a

failure to create and maintain documentation of responses to complaints of racial harassment,

Mountain-Iron Buhl Public School District #712 at 6; offering a “trusted adult” to whom students

suffering from racial harassment could report incidents, but not otherwise offering the students

“counseling or other remedies” following substantiated incidents, Northwest Allen County Schools

at 3; and not implementing training for students and staff regarding ongoing racial harassment and

reports of racially offensive language. Id.

       OCR has also expressed concerns specifically over district investigations that focused on

bullying to the exclusion of considering whether racial harassment occurred. See Hampton School

District / SAU 90, No. 01-19-1290, (U.S. Dep’t of Educ. Office for Civ. Rts. Feb. 14, 2020),

https://www2.ed.gov/about/offices/list/ocr/docs/investigations/more/01191290-a.pdf.       In    that

matter, the parent raised concerns over racial comments made to their child. Id. at 2. However, the

investigation focused solely on bullying; OCR noted the information gathered indicated that the

district may not have considered whether these incidents constituted racial harassment, nor

investigated the impact of the comments on the victim or any other students, focusing instead on

what disciplinary action was necessary. Id. at 4.

      i. BASD’s Investigation Into the Racially Hostile Environment Was Not Reasonable.

       A district’s duty to investigate racial harassment and whether a racially hostile environment

existed is not triggered only by a formal complaint. Platteville Public Schools at 4. Here, the duty

arose for BASD as early as the first documented instance of a racial slur was used in the district.

Yet, there is little evidence in the record that BASD conducted any investigation into a larger

problem at the district starting in 2016 or even in February 2019 when it is documented Ms.

Garbade raised allegations regarding racial harassment, including that Student A has “been hit so



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many times & ha[s] had to deal with so many racial slurs”. In the extended correspondence

between Ms. Garbade and BASD that followed until March 2020, she continued to raise

allegations of a racially hostile environment until she filed her formal Complaint. Between

February 2019 and March 2020, BASD seemingly only responded to certain discrete allegations

involving Student A, but did not take the further step of considering, or investigating, whether the

environment in BASD was racially hostile for Student A in particular or her peers globally. Even

in the context of the investigation of specific allegations, as discussed in section V.A.iii., there is

little evidence that racial motivation was considered or explored by BASD. There is also no

evidence in the record that many of Ms. Garbade’s allegations, both those made in her email

correspondence and those made in her formal Complaint, were ever investigated at all. These

include allegations Student A was pushed down the stairs and other incidents of physical assault

Ms. Garbade implies were racially-motivated. 10 During the lengthy correspondence between Ms.

Garbade and BASD, the district never pointed Ms. Garbade to the formal process for

discrimination complaints. BASD’s response to the racially hostile environment in its district was

similar to that of River Falls, which was determined to be inadequate by OCR. Certain individual

allegations were addressed, but there was no formal investigation into the global environment of

racial harassment. Also, like the response of Hampton, BASD seemingly focused its response on

imposing discipline on individual students to the exclusion of any consideration of the possible

racial components of the incidents involving Student A.




10
   The record reflects that Principal Schimmel advised Ms. Garbade in February 2019 that in response to the issues
she had raised, “I have investigated and/or acted in response with consequences and/or steps to address the situations”.
The record contains some evidence that to confirm his assertion that certain incidents were investigated, e.g., the entry
in a student discipline report resulting from Student Y’s threat that he would kill Student A, but is largely silent as to
any investigation and response that occurred.

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        DPI also has concerns over the formal investigation that was ultimately conducted as a

result of Ms. Garbade’s Complaint. The Complaint clearly includes allegations that there was a

racially hostile environment present at BASD, yet the investigation focused only on certain

discrete incidents raised by Ms. Garbade. As noted previously, see section V.A.ii., there is one

conclusory statement in the Investigation Report addressing the racially hostile environment.

Relevant witnesses were not interviewed, including the SRO. No BASD students were

interviewed. In combination with the BASD’s lack of investigation prior to March 2020, the result

is a lack of evidence in the record reflecting any consideration of the racially hostile environment

present in BASD. This failure to consider and investigate is clearly not a reasonable and

appropriate response given the persistent racial harassment in the district.

     ii. BASD’s Responsive Actions to Racial Harassment Were Not Reasonably Calculated to
         Prevent Recurrence.

        BASD did take actions to address racial harassment as it occurred within the district, but

these actions were not reasonably calculated to prevent recurrence and were not effective when

viewed cumulatively. The record reflects that discipline was imposed on those students

documented to have engaged in racial bullying. However, as the Investigation Report notes, there

was no “uniformity in the severity of punishment given to students who make remarks based on

race.” In fact, the difference in discipline imposed for these incidents is stark. For instance, an

eighth grader who called another student “nigger” was given one day of lunch/recess detention

while an eleventh grader who said “the N-word” to two students five times was given two days of

out-of-school suspension. Of the nineteen documented incidents of racial bullying, only two served

out-of-school suspension and one was referred for police contact; most received detention or one

day or less of in-school suspension. It is logical that use of racial slurs and comments in the district

continued when the consequences for students doing so were almost non-existent.

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        More importantly, BASD’s response to pervasive racial harassment seemingly ended after

discipline was imposed. Just like in River Falls and Platteville, where the district addressed certain

instances of harassment as they arose, there is no evidence in the record that BASD took steps to

prevent the recurrence of the harassment. There was a significant absence of any district-wide and

systematic consideration of how to address underlying causes of the harassment and ensure such

racial harassment would not continue. As noted above, OCR has provided many examples of steps

that encompass an appropriate response to pervasive racial harassment. There is scant evidence in

the record that BASD took any of these steps from 2016 to March 2020. 11 BASD did not: provide

training to students, staff and the school community on recognizing recurring harassment and how

to respond; issue new policies on harassment or refine its procedures on harassment complaints;

provide Ms. Garbade clarity on how to formally report discrimination complaints; develop

guidelines for collaboration with law enforcement officials; or work to develop an effective anti-

harassment program. None of these strategies are necessarily mandatory to address the pervasive

racial harassment in this case, but the record demonstrates that BASD’s response was insufficient.

        The correspondence between Ms. Garbade and BASD reflects many ways in which the

district claimed it was responding to racial issues in BASD. In March 2019, BASD agreed with

Ms. Garbade’s suggestion that a committee on diversity and inclusion should be formed within the

district. However, no demonstrable progress was made on forming this committee thereafter. In

November 2019, Ms. Garbade was still inquiring as to what steps, if any, had been taken to start

that process. Principal Schimmel suggested in February 2019 to Ms. Garbade that racial issues

were being addressed through “Monday Meeting lessons” focused on diversity and respect and a

“Compassion Day” led by students focused on compassion for others and inclusion. Ms. Garbade


11
  BASD has presented evidence regarding steps it has taken since Ms. Garbade’s formal Complaint was resolved.
Those will be addressed in the Order, below.

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asked several follow-up questions about these events, including what the goals of the events were

and whether the participants were racially and culturally diverse. The record does not contain any

further information on if, or how, these events addressed the ongoing racial harassment. From

April 2019 through the end of the school year, Student A “checked in” daily with either Principal

Schimmel or a school counselor; any peer or staff concerns Student A raised were documented.

However, the “results” documented for these concerns were what steps were taken to improve

Student A’s reaction. It is unclear whether Student A received formal counseling or other remedies

in addition to these check-ins.

       BASD’s response was substantially similar to districts where OCR either specifically

found a district failed to respond appropriately or expressed concerns over the response. Like in

Hampton, even though certain incidents were investigated, there was usually no exploration as to

whether the incidents constituted racial harassment and the focus was on bullying in general and

disciplining students without consideration of how the incidents impacted Student A. Similarly,

like in Mountain-Iron Buhl, there was a lack of documentation supporting responses to incidents

of racial harassment. Just as in River Falls and Northwest Allen, Student A was offered support in

the form of check-ins with staff, but no accompanying counseling or other remedies in the face of

racial harassment. Finally, like Northwest Allen, there was no implementation of district-wide

training for students or staff in response to ongoing reports of racial harassment. Based on its

review of the record, DPI concludes that the responsive actions BASD did take were not reasonably

calculated to prevent recurrence of racial harassment within the district.




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     iii. BASD’s Response Was Not Reasonable Because BASD Often Improperly Put the Onus
          on Student A to Respond to Racial Harassment.

       BASD also failed to reasonably respond when it improperly shifted the burden to Student

A to consider how she should act in the face of racial harassment, rather than addressing how the

harassers should act differently. During the course of Principal Schimmel’s investigation into the

altercation between Student A and Student Y, Ms. Garbade asserted in contemporaneous emails

that Principal Schimmel: said “things keep happening to” Student A; explained what the

consequences would have been for Student A if the altercation had progressed; and told her to

“walk away” from such incidents. These same statements were apparently not made to Student Y.

In the Investigation Report, Principal Schimmel acknowledged he asked Student A “what she

believed she could have done differently” and stated this was a “restorative justice and conflict

resolution technique” but conceded he had no formal training in restorative justice.

       Email correspondence between Ms. Garbade and Principal Schimmel also documents

significant issues experienced by Student A with a group of students on the bus, including Student

Z. The record reflects that Student Z was disciplined for threatening Student A and the

investigation substantiated that Student Z and others thereafter retaliated against Student A for

reporting the threat. In the Investigation Report, Attorney Grenell notes “Mr. Schimmel removed

two students from the bus that [Student A] rode. In addition, the District involved the Burlington

Police Department, and the Department issued Cease and Desist Contracts to the other students.”

This recitation of facts does not acknowledge that it appears that Ms. Garbade, and not BASD,

was the first to report this ongoing issue to the police. Further, in addition to the cease-and-desist

contracts “issued” to the other students involved, Student A was asked to sign a contract as well.

Student A ultimately did not sign after Ms. Garbade asserted it was inappropriate that the target of

bullying and racial harassment be asked to cease and desist.

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       Even during the incident where Student A brought a toy gun to school, and justifiably was

asked to consider how her actions could have harmed others, Principal Syens took it a step further

and introduced racial overtones and Student A’s responsibility for the actions of others by telling

her the story of a Black child killed by the police while playing with a toy gun. This statement

implied Student A would be responsible if she was harmed as a result of someone else’s mistaken

impression about Student A’s intentions. Principal Syens asserts she intended this to be a teaching

moment about gun safety, but the Investigation Report acknowledges this comment was

concerning given Student A’s age.

       These incidents reflect a persistent shifting of the obligation from both the district and the

perpetrators to Student A to bear responsibility for the racially hostile environment. Just as in

Platteville, BASD asked Student A to consider and change her own behavior to end the harassment

while failing to effectively address the individuals perpetrating the harassment. BASD continually

treated Student A as part of the problem instead of the target of the concerning behavior. This both

perpetuated the racially hostile environment and is evidence of BASD’s failure to appropriately

respond to the racially hostile environment.

VI.    BASD FAILED TO COMPLY WITH ITS POLICY AND PROCEDURE IN
       HANDLING NONDISCRIMINATION COMPLAINTS.

       BASD’s Nondiscrimination Policy, Code No. 112, adopts the provisions of Wis. Stat. §

118.13 which prohibit discrimination based on legally-protected characteristics. BASD’s

Nondiscrimination Procedure, Code No. R-112, provides a bare bones process for the filing and

resolution of complaints: “[i]n the event that an individual wishes to file a complaint regarding

discrimination the following procedure must be followed. The district will follow due process

standards and provide for the prompt and equitable resolution of complaints alleging any action

prohibited by civil rights regulations.” To commence a complaint, the procedure requires the


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“discrimination complaint form” be completed and submitted to the Assistant Superintendent. There

is no further detail provided on what must be contained in the form; the procedure does not require any

level of detail or specificity in the allegations.

        There is no dispute that Ms. Garbade properly submitted her complaint to BASD in accordance

with this procedure. The allegations contained on the complaint form itself as well as in her

accompanying email (it was necessary for her to include additional allegations in her email given the

lack of space on the form) are detailed in Section III above. While it is true the bulk of the specific

allegations pertain to incidents involving Student A, the complaint form specifically provides that Ms.

Garbade is making it on behalf of her children. The Complaint clearly asserts that her children – both

Student A and Student B – have been subjected to racial slurs. Nonetheless, the investigation wholly

ignored any allegations regarding Student B, who was attending Burlington Area High School at the

time the Complaint was submitted. The Investigation Report specifically states “[t]he allegations

related to the high school were not the subject of the Complaint and therefore not within the scope of

my investigation.” Further, as detailed in section V.C.i., the investigation did not sufficiently address

allegations of a hostile environment at-large in BASD.

        BASD has also taken inconsistent positions on how it uses its nondiscrimination policy and

procedure to report discrimination complaints to DPI. Wis. Admin. Code § PI 9.07(2) requires

school boards to annually report to DPI the name of the employee designated to receive complaints

regarding discrimination and the number of complaints received during the year. The DPI form

utilized by districts to make this annual report asks “[d]id the district receive any verbal or written

complaints based on pupil discrimination and/or harassment”? For the years 2016 through 2019,

BASD reported to DPI that it received zero discrimination or harassment complaints. This issue

was previously raised to DPI outside of the scope of this Complaint and DPI exercised its oversight

authority under Wis. Admin. Code § PI 9.08(2)(c) to determine whether BASD was complying


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with its own established policies and procedures in reporting to DPI. During that inquiry, BASD

represented that it had not reported any complaints raised by Ms. Garbade during the years 2016

through 2019 because the district did not read her complaints to contain any specific allegations

about race discrimination. BASD directly contradicted itself in the Investigation Report on this

matter, stating Ms. Garbade’s complaints were not reported because she “never submitted a formal

discrimination complaint pursuant to the District’s Nondiscrimination Policy”. BASD must

develop a consistent position on when discrimination complaints are reported to DPI. Ms. Garbade

alleges that BASD’s failure to include the complaints she raised to the district prior to 2020 in its

required reporting to DPI is evidence BASD perpetuated the racially hostile environment present

in the district. As detailed in V.C.i, DPI agrees that BASD did not reasonably respond to the

complaints raised by Ms. Garbade. As noted previously, however, a district’s duty to investigate

complaints of racial harassment arises whether complaints are “informal” or formal”.

VII.    THE DISPROPORTIONATE SUSPENSION OF BLACK STUDENTS DOES NOT
        ESTABLISH RACE-BASED DISCRIMINATION.

        Ms. Garbade alleges that suspension rates in BASD are also evidence of racial

discrimination. Specific instances of disparate treatment of Student A were addressed in Section

IV. There is no additional evidence in the record which shows that BASD globally treats similarly-

situated white and Black students differently in terms of suspension. DPI has historically

determined that the mere existence of disproportionate rates of suspension is insufficient to establish

differential treatment discrimination.

VIII. BASD’S NONDISCRIMINATION POLICY AND PROCEDURE DO NOT
      COMPLY WITH WISCONSIN ADMINISTRATIVE CODE.

        Beyond the authority afforded by Wis. Stat. § 118.13 to review an appeal from a district’s

negative determination on a discrimination complaint, DPI has general oversight authority over

districts’ compliance with Wis. Stat. § 118.13 and Wis. Admin. Code ch. PI 9. See Wis. Admin.
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Code § PI 9.08(2)(a),(c). In its review of this matter, DPI has identified that BASD’s

nondiscrimination procedure does not comply with Wis. Admin. Code § PI 9.04(2), which requires

that such procedure include a provision for “determination of the complaint within 90 days of

receipt of the written complaint.” BASD’s nondiscrimination grievance procedure provides

timelines for response by the Assistant Superintendent and, if that response is appealed, by the

Superintendent. However, the procedure does not contain any timeline for ultimate determination

of the complaint.




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                                              ORDER

        NOW THEREFORE, Ms. Garbade’s appeal is denied in part and granted in part.

       Within 0 days, Burlington Area School District shall submit to the Department of Public

Instruction a corrective action plan specifying steps it will take to: 1) prevent further instances of

discrimination in discipline; 2) adequately redress the racially hostile environment present in

BASD; 3) review its past reporting on discrimination complaints to ensure compliance with BASD

policies and procedures and enact clear guidelines for future reporting; and 4) revise its policies

and procedures to ensure they are in compliance with the Wisconsin Administrative Code.

       BASD has offered evidence of actions it has undertaken since its resolution of Ms.

Garbade’s Complaint, including: working with the National Equity Project; an open letter from

the Superintendent and the Board rejecting racism, discrimination and harassment; and training on

working with SROs. These actions are important first steps to addressing the racially hostile

environment at BASD, but BASD is under a continuing obligation to ensure these measures are

reasonably calculated to prevent the recurrence of racial harassment throughout the district.



       Dated this __     __ day of April, 2021.




                                               Barbara Van Haren
                                               Assistant State Superintendent




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                                        APPEAL RIGHTS

This Decision and Order is the final agency decision regarding this appeal.

Any person aggrieved by this Decision and Order may, within 20 calendar days after service of
this decision, request a rehearing by filing a written petition for rehearing which specifies in detail
the grounds for the relief sought and supporting authorities, as provided by Wis. Stat. § 227.49. In
a petition for rehearing, the State Superintendent of Public Instruction shall be named as
respondent.

Any person aggrieved by the Decision and Order may petition for judicial review by filing a
petition within 30 days after service of this Decision with the clerk of the circuit court for the
county where the judicial review proceedings are to be held, as provided by Wis. Stat. § 227.53.
In a petition for judicial review, the State Superintendent of Public Instruction shall be named as
respondent.

This notice is provided pursuant to Wis. Stat. § 227.48(2).




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                                                         Exhibit B



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